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AO 106(Rev. 04/10) Application for a Searcfi Warrant



                                                                                                                 trict
                                                                                              for the
                                                                       Western District of New York

                                                   In the Matter of the Search of
                                (Briefly describe the property to be searched or identify the person by name and address.)


  1141 Bullis Road, east portion residence, Elma, New York 14059                                                                               Case No. 18-MJ-1208

                                                    APPLICATION FOR A SEARCH WARRANT

       1, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that 1 have reason to believe that on the following person or property (identify the person or describe the
properly to be searched and give its location)'.


  1141 Bullis Road, east portion residence, Elma, New York 14059

located in the Western District of New York, there is now concealed (identify the person or describe the property to be seized)'.

 See Attachment B, Items to be Searched and Seized

The basis for search under Eed. R. Grim. P. 41(c) is (check one ormore)\
       Ki evidence of a crime;
       Ei contraband, fruits of crime, or other items illegally possessed;
       la property designed for use, intended for use, or used in committing a crime;
       □ a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of Title 18, United States Code, Sections 1546(a) and 1546(b)(2).

The application is based on these facts:

             Ei    continued on the attached sheet.
             □     Delayed notice of      days (give exact ending date if more than 30 days:                                                                  Jis
                   requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                                             /l^
                                                                                                                                   Applicant's signature


                                                                                                            RYAN W. GREEN
                                                                                                            SPECIAL AGENT
                                                                                                            HOMELAND SECURITY INVESTIGATIONS
                                                                                                                                   Printed name and title




Sworn to before me and signed in my presence.

Date:         October /p .2018                                                                                                           Jtl.    /

                                                                                                                                       Judge's signatUj


                                                                                                            JEREMIAH J. McCarthy
City and state: Buffalo. New York                                                                           UNITED STATES MAGISTP ATE JUDGE
                                                                                                                                     Printed name and Title
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                ATTACHMENT A - - PREMISES TO BE SEARCHED


       a.      SUBJECT PEEMISES: the premises to be searched is the east side of the

duplex located at 1141 Bullis Rd., Elma, NY 14059.

       b.      The residence on the east side of the duplex is located on the right hand

side of the front of the duplex depicted immediately below. The front of residence has a

white front door facing south, with a red brick lower fapade and tan siding on the

floor and east side:




c. The back of the duplex, facing north, has tan siding and a porch with white railings:
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         ATTACHMENT B — DESCRIPTION OF ITEMS TO BE SEARCHED FOR
                                           AND SEIZED


        Items to be searched for and seized are the evidence, fruits, instrumentalities, or

contraband relating to violations of Title 18, United States Code, Section 1546(a) and Title

 18, United States Code, Section 1546(b)(2)including, but not limited to, the following:

    a Identity documents of the United States or any foreign government including, but
      not limited to, alien registration cards, social security cards, passports, visas, entry
      documents of any kind, drivers licenses, and documents used in support of any
      application for benefits in the United States; and

    b. By this search warrant, your affiant also requests permission to take photographs of
       any evidentiary items or search venues at the time ofthe search.


    All relating to Violations of Title 18, United States Code, Section 1546(a)and Title 18,

United States Code, Section 1546(b)(2).
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                  AFFroAvrr in support ofa search warrant



STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )


       I, RYAN W.GREEN,a Special Agent with Homeland Security Investigations(HSI),

being duly sworn, deposes and states as follows:


                    INTRODUCTION AND AGENT BACKGROUND


       1.      I am a Special Agent (SA) with the Department of Homeland Security,

Homeland Security Investigations (hereinafter, "HSI"), in Buffalo, New York and have been

so employed since June of 2004. During my employment with HSI, I have participated in

multiple investigations and/or criminal prosecutions concerning worksite enforcement,

businesses that employ unauthorized aliens, and possession and use offraudulent documents.

As such, I am a federal law enforcement officer within the meaning of Federal Rule of

Criminal Procedure 41; that is, empowered by law to apply for search warrants.



      2        This affidavit is submitted in support of an application for a warrant to search

the residence located on the east-side portion of a duplex located at 1141 BuUis Rd., Elma,

NY 14059 (hereinafter referred to as the "SUBJECT PREMISES"), more fully described in

Attachment "A", for evidence of violations of Title 18, United States Code, Section 1546(a)

(possession of fraudulent documents) and Title 18, United States Code, Section 1546(b)(2)

(use of fraudulent documents for employment). The items to be seized in the SUBJECT

PREMISES are more fuUy described in Attachment "B".
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       3.      This investigation encompasses the participation of several law enforcement

agencies,including HSI and Border Patrol operating in Westem New York.The investigation

to date has utilized a wide variety of law enforcement techniques both overt and covert,

including physical surveillance, reviewing employment documents, and interviewing

witnesses. I am familiar with the information contained in this affidavit based upon my

participation in the investigation, my review of activities related to the investigation, my

review of documents obtained as part of this investigation, and information provided to me

by other law enforcement officers who have personal knowledge of the events and

circumstances described herein. Because this affidavit is submitted for the limited purpose of

securing a search warrant, it does not contain all the information that I have leamed during

the course ofthis investigation. I have set forth only those facts that I believe are necessary to

establish probable cause to believe that evidence ofviolations ofTitle 18, United States Code,

Sections 1546(a) and 1546(b)(2) are presently located at the SUBJECT PREMISES.



       4       Based on the facts set forth in this affidavit, I respectfully submit that there is

probable cause to believe that there is presently concealed, in the SUBJECT PREMISES,the

items described in Attachment B hereto, all of which constitutes evidence, fruits, and

instrumentalities of violations of Title 18, United States Code, Sections 1546(a) and

1546(b)(2).




                                     APPLICABLE LAW


       5.      This investigation involves the following offenses:

       (a)     Whoever knowingly forges, counterfeits, alters, or falsely makes any immigrant
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or nonimmigrant visa, permit, border crossing card, alien registration receipt card, or other

document prescribed by statute or regulation for entry into or as evidence of authorized stay

or employment in the United States, or utters, uses, attempts to use, possesses, obtains,

accepts, or receives any such visa, permit, border crossing card, alien registration receipt card,

or other document prescribed by statute or regulation for entry into or as evidence of

authorized stay or employment in the United States, knowing it to be forged, counterfeited,

altered, or falsely made, or to have been procured by means of any false claim or statement,

or to have been otherwise procured by fraud or unlawfully obtained, is in violation of Title

18, United States Code, Section 1546(a); and

      (b)      Whoever uses—an identification document knowing (or having reason to

know)that the document was not issued lawfully for the use ofthe possessor...for the purpose

of satisfying a requirement of section 274A(b) of the Immigration and Nationality Act (8

U.S.C. 1324a(b)), is in violation of Title 18, United States Code, Section 1546(b)(2).



        BACKGROUND OF INVESTIGATION AND PROBABLE CAUSE


       6.      As detailed below, this investigation has determined that there are fraudulent

alien registration documents (fraudulent permanent resident cards) and fraudulent social

security cards located in the SUBJECT PREMISES.



       7.      On October 17,2018, HSI and U.S. Border Patrol were investigating a business

named Seasonal Nursery, a garden center and landscaping business, located at 1120 BuUis

Rd.Elma,NY 14059,for employing individuals who are illegally present in the United States.

As part ofthat investigation, HSI and U.S. Border Patrol consensually encountered Domingo
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CRECENCIO-ESTEBAN at the entry way to the parking lot of Seasonal Nursery. After

admitting to officers that he was illegally present in the United States, CRECENCIO-

ESTEBAN consensually allowed SA Green (your affiant) and SA Gibas to accompany him

into his residence, the SUBJECT PREMISES, in order that he may obtain documents to

confirm his identity. SA Green and SA Gibas saw numerous paystubs while they were inside

of the SUBJECT PREMISES. Additionally, while in the SUBJECT PREMISES,SA Green

and SA Gibas encountered four other individuals, all of whom admitted that they were

illegally present in the United States. Those four other individuals were Mauricio MORENO-

MENDOZA, Manuel RAMIREZ-SEBASTIAN, Ezequiel FLORES-SANTIAGO, and

Heriberto CANDELARIO-ANTONIO,all ofwhom also lived in the SUBJECT PREMISES.

Brian Young, President of Seasonal Nursery, confirmed that Seasonal Nursery owns the

SUBJECT PREMISES and uses it as a place for their workers to live when they are here for

seasonal employment. Young further confirmed that these five illegal aliens resided at the

SUBJECT PREMISES and that they were employed by Seasonal Nursery.



       8.      During the encounter and investigation it was determined that Domingo

CRECENCIO-ESTEBAN, Mauricio              MORENO-MENDOZA, Manuel                 RAMIREZ-

SEBASTIAN,Ezequiel FLORES-SANTIAGO,and Heriberto CANDELARIO-ANTONIO

were working at Seasonal Nursery unlawfully and without proper authorization. At the time

of the encounter, all individuals, except for MORENO-MENDOZA, provided Mexican

government identification cards which depicted their given names. All ofthe aforementioned

individuals, after admitting to being illegally present in the United States, were taken into

custody, and transported to the Batavia Federal Detention Facility. Record checks conducted
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for all of the aforementioned illegal aliens further revealed that they were illegally present in

the United States.




       9.      On October 22, 2018, HSI issued a Notice of Inspection (NOI), requesting all

Form I-9's for the employees of Seasonal Nursery. A Form 1-9 is an employment document

that is required to be filled out by all employees and kept on file by employers in the United

States. At that time, Tom Lewis, Operations Manager of Seasonal Nursery, provided HSI

with the Form 1-9 documents for Domingo CRECENCIO-ESTEBAN,Mauricio MORENO-

MENDOZA, Manuel RAMIREZ-SEBASTIAN, Ezequiel FLORES-SANTIAGO and

Heriberto CANDELARIO-ANTONIO. It was determined that all of the individuals were

employed under fictitious names.



       10.     Each Form 1-9 had a photocopy of a fraudulent Permanent Resident

card/Alien Registration card (1-551) and fraudulent social security card which was provided

by each employee for purposes of their employment. Records checks of the alien numbers

which were depicted on the photocopies ofthe Alien Registration cards and the social security

numbers which were depicted on the social security cards revealed that the documents were

fraudulent. Additionally, the documents depicted fictitious names. Although photocopies of

these documents were attached to each Form 1-9, the original documents were never

discovered or encountered as part ofthe investigation.



       11.      On October 25, 2018, HSI Buffalo Agents interviewed MORENO-

MENDOZA. When MORENO-MENDOZA was shown photocopies of the fraudulent
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documents attached to his Form 1-9—^which consisted ofa fraudulent Alien Registration card

and a fraudulent Social Security card—he admitted that these documents were fraudulent and

that he utilized these counterfeit documents on or about April 22, 2018(Form 1-9 execution

date)to obtain employment at Seasonal Nursery. MORENO-MENDOZA stated that he paid

between $125 and $150 for his fraudulent documents while he was in Florida. The name

depicted on the fraudulent Alien Registration card and fraudulent Social Security card that

he utilized was "Mauricio Mendoza-Moreno", which is a variation ofhis actual name. When

asked where the documents are presently located, MORENO-MENDOZA stated that the

documents are presently located in the SUBJECT PREMISES.



       12.   On October 25, 2018, HSI Buffalo Agents interviewed CRECENCIO-

ESTEBAN. The name "Zairo Placido-Perez" was depicted on the fraudulent Alien

Registration card and fraudulent Social Security card that CRECENCIO-ESTEBAN used to

gain employment at Seasonal Nursery. CRECENCIO-ESTEBAN stated that he paid $140

or $150 in Houston, Texas for the documents. CRECENCIO-ESTEBAN stated that he

misplaced the documents.



      13.    RAMIREZ-SEBASTIAN, FLORES-SANTIAGO                    and   CANDELARIO-

ANTONIO did not provide any statements concerning the location of the fraudulent

documents that they used.



       14.   On October 25, 2018, HSI Buffalo agents spoke with Brian Young and Tom

Lewis, both of whom are involved in the management and daily operation of Seasonal
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Nursery. Both individuals stated that nobody has entered the SUBJECT PREMISES since

the aforementioned illegal aliens were arrested. They also stated that they would not enter the

SUBJECT PREMISES again until this matter is resolved. As previously stated, Seasonal

Nursery owns the SUBJECT PREMISES and maintains the duplex for its workers.



       15.     Based on the foregoing, there is probable cause to believe CRECENCIO-

ESTEBAN, MORENO-MENDOZA, RAMIREZ-SEBASTIAN, FLORES-SANTIAGO

and CANDELARIO-ANTONIO violated Title 18, United States Code, Sections 1546(a)

and 1546(b)(2).




              PREMISES TO BE SEARCHED AND ITEMS TO BE SEIZED


        16.    This affidavit is made in support of an application for a search warrant for the

premises referred to as the SUBJECT PREMISES, the residence located on the east-side

portion of the duplex located at 1141 BuUis Rd., Elma, NY 14059, a detailed description of

which is attached hereto in Attachment A with a picture attached.




        17.    Based on my training and experience, it is more probable than not that

evidence, property, fruits, and instrumentalities ofthese offenses, and other items related to

these violations offederal law, may be found in the SUBJECT PREMISES.




                                       CONCLUSION


       18.     Accordingly, it is respectfully submitted that probable cause exists to believe
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 that violations of Tile 18, United States Code, Section 1546(a), and Title 18, United States

 Code, Section 1546(b)(2), have occurred and that property, evidence, fruits, and

 instrumentalities ofthese offenses, more fully described in Attachment B ofthis affidavit, are

 located in the SUBJECT PREMISES, as described in Attachment A. As such, it is

 respectfully requested that the attached warrant be issued authorizing the search of the

 SUBJECT PREMISES.


        WHEREFORE, I respectfully request that the Court issue a warrant authorizing

 Agents of Homeland Security Investigations to search the SUBJECT PREMISES, as

 further described in Attachment A, for the evidence and instrumentalities of the offenses,

 as described in Attachment B.




                                                    /A-A-
                                                  RYAN W. GREEN
                                                   Special Agent
                                                   Homeland Security Investigations


Sworn and subscribed to before


me this^^^day of October 2018.


            /—7^—/Ty ''
 J^JIEMIAH/ McCA:pHY
 United States Magistrate Judge
